








 				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-03-282-CV





IN THE INTEREST OF U.A.M., A MINOR CHILD	







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FROM THE233RD
 DISTRICT COURT OF TARRANT COUNTY



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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On November 19, 2003 and January 6, 2004, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. 
 See
 
Tex. R. App. P. 
42.3(c). &nbsp;Appellant has not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court's order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).

PER CURIAM





PANEL D:	GARDNER, WALKER, and McCOY, JJ.



DELIVERED: February 5, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.


2:July 21, 1998 Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals,
 reprinted in
 
Appendix to the Texas Rules of Appellate Procedure
 (Vernon 2002).




